Case 2:20-cv-09200-RGK-PD Document 35 Filed 11/19/21 Page 1 of 1 Page ID #:154



  1   Zahra H. Aziz, Esq. SBN 303656
      zaziz@mwl-law.com
  2   MATTHIESEN, WICKERT & LEHRER, S.C.
  3   1851 East Frist Street, Suite 1150

  4
  5
      Santa Ana, CA 92705
      Phone: (800) 637-9176
      Fax: (262) 673-3766
                                                                      JS-6
  6   Attorneys for Plaintiff
       UNITED VISUAL BRANDING, LLC
  7
  8
  9                          UNITED STATES DISTRICT COURT
 10
                            CENTRAL DISTRICT OF CALIFORNIA
 11
       UNITED VISUAL BRANDING, LLC, CASE NO.: 2:20-cv-09200-RGK-PD
 12
                                                  Assigned to: Judge R. Gary Klausner
 13                             Plaintiff,        Magistrate Judge Patricia Donahue
 14                                               [PROPOSED] ORDER FOR
       v.
                                                  DISMISSAL WITH PREJUDICE OF
 15                                               ENTIRE ACTION
       ATLANTIC FREIGHT, INC,
 16
 17                            Defendants.
 18
 19
            IS HEREBY ORDERED that, pursuant to stipulation by and among the
 20
      parties to this action, through their respective attorneys of record, the above-entitled
 21
      action is dismissed, with prejudice, pursuant to Federal Rule of Civil Procedure
 22
      41(a), with each party to bear its own attorneys' fees and costs.
 23
 24
      DATED: November 19, 2021               By:____________________________
 25                                            The Honorable R. Gary Klausner
                                               UNITED STATES DISTRICT JUDGE
 26
 27
 28
                     STIPULATION OF DISMISSAL WITH PREJUDICE OF ENTIRE ACTION
                                                  1
